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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE



In re:                                                                  Chapter 11

BOY SCOUTS OF AMERICA AND                                               Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                                        (Jointly Administered)
          Debtors.1



      CONSOLIDATED RESPONSE OF THE HONORABLE BARBARA J. HOUSER
    (RET.), IN HER CAPACITY AS TRUSTEE OF THE BSA SETTLEMENT TRUST, IN
       OPPOSITION TO MOTIONS TO CHANGE ELECTIONS OF EXPEDITED
                 DISTRIBUTION [D.I. 11561, 11562, 11563, 11566, 11570]

          The Honorable Barbara J. Houser (Ret.) (the “Trustee”), in her capacity as trustee of the

BSA Settlement Trust (the “Settlement Trust”), hereby submits this consolidated opposition (the

“Opposition”) to:

          (1) Motion to Change Election to Opt into Expedited Payment/Convenience Class or
              Other Necessary Relief on Behalf of Survivor Claimant B.B. [D.I. 11561];

          (2) Motion to Change Election to Opt into Expedited Payment/Convenience Class or
              Other Necessary Relief on Behalf of Survivor Claimant D.M. [D.I. 11562];

          (3) Motion to Change Election to Opt into Expedited Payment/Convenience Class or
              Other Necessary Relief on Behalf of Survivor Claimant M.G. [D.I. 11563];

          (4) Motion to Correct Election from the Expedited Payment Option to the Trust
              (“Matrix”) Claims Process or Independent Review Option [D.I. 11566]; and

          (5) Motion to Change Election from Expedited Payment/Convenience Class and Other
              Necessary Relief on Behalf of Survivor Claimant J.D. [D.I. 11570] (together, the
              “Motions”).




1
  The Reorganized Debtors in these Chapter 11 Cases, together with the last four digits of Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
Reorganized Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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           The Trustee incorporates her Consolidated Response in Opposition to (1) Survivor

Claimant D.S.’s Motion to Change Election to Opt into Expedited Payment/Convenience Class,

D.I. 11532, and (2) Motion to Change Election to Opt into Expedited Payment/Convenience

Class, D.I. 1522 [D.I. 11565] (the “First Consolidated Opposition”) as if set forth fully herein.2

In further support of her Opposition, the Trustee respectfully states and alleges as follows:

                                ADDITIONAL FACTUAL BACKGROUND

           The facts alleged in each of the Motions are as follows:
          Survivor Claimant B.B. alleges that he mistakenly checked the box electing the
           Expedited Distribution option on his Class 8 ballot. Mot. to Change Election to Opt into
           Expedited Payment/Convenience Class or Other Necessary Relief on Behalf of Survivor
           Claimant B.B., D.I. 11561, at 1. He has not received any payment yet from the Trust. Id.
           at 2.

          Survivor Claimant D.M. alleges that he mistakenly checked the box electing the
           Expedited Distribution option on his Class 8 ballot. Mot. to Change Election to Opt into
           Expedited Payment/Convenience Class or Other Necessary Relief on Behalf of Survivor
           Claimant D.M., D.I. 11562, at 1. He has not received any payment yet from the Trust.
           Id. at 2.

          Survivor Claimant M.G. alleges that he mistakenly checked the box electing the
           Expedited Distribution option on his Class 8 ballot. Mot. to Change Election to Opt into
           Expedited Payment/Convenience Class or Other Necessary Relief on Behalf of Survivor
           Claimant M.G., D.I. 11563, at 2. He has not received any payment yet from the Trust.
           Id.

          The Krause & Kinsman Law Firm asserts that its clients each filed ballots for Class 8
           claims wherein they mistakenly checked a box electing the Expedited Distribution option.
           Mot. to Correct Election from the Expedited Payment Option to the Trust (“Matrix”)
           Claims Process or Independent Review Option, D.I. 11566, at 2. They have not received
           any payment yet from the Trust. Id.

          Survivor Claimant J.D. alleges that he mistakenly checked the box electing the Expedited
           Distribution option on his Class 8 ballot. Mot. to Change Election from Expedited
           Payment/Convenience Class and Other Necessary Relief on Behalf of Survivor Claimant
           J.D., D.I. 11570, at 2. He has not received any payment yet from the Trust. Id.




2
    Capitalized, undefined terms set forth herein have the meaning set forth in the First Consolidated Opposition.

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                                      RELIEF REQUESTED

          The Trustee seeks an order from this Court denying the Motions.
                                       BASIS FOR RELIEF

          The basis for the Trustee’s relief is set forth in the First Consolidated Opposition. In

short, while the Trustee is sympathetic to these claimants’ predicaments, the Plan language, along

with the language set forth in the TDP and Solicitation Procedures, does not permit claimants to

change their elections of Expedited Distribution. Further, the Trust would face significant

difficulty in changing (at a minimum) hundreds of claims from Expedited Distribution to the

Matrix or Independent Review options.

                                          CONCLUSION

          For the reasons set forth above, the Trustee respectfully requests that this Court deny the

Motions.

Dated: November 10, 2023
Wilmington, Delaware                             PACHULSKI STANG ZIEHL & JONES LLP


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                                                 – AND –




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                                         Attorneys for the Honorable Barbara J. Houser
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